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                       UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION

 IN RE:
                                                     CASE NO.: 18-15891-LMI
 MAURICE SYMONETTE
                                                     CHAPTER: 7
      Debtor(s)
__________________________/


      RESPONSE TO DEBTORS’ EMERGENCY MOTION FOR VIOLATION OF
                      BANKRUPTCY STAY [DE 20]

       COMES NOW, HSBC Bank USA, National Association as Trustee for Nomura Home
Equity Loan, Inc., AssetBacked Certificates, Series 2007-1 (the “Creditor”), by and through the
undersigned counsel, hereby files this Response to Debtors’ Motion for Violation of Bankruptcy
Stay (the “Sanction Motion”)[DE #20]; and in support, respectfully asserts that the Debtor’s
Motion should be denied for the following reasons:
       1.      The Debtor filed the instant bankruptcy on May 16, 2018.
       2.      Creditor is mortgagee for a loan on property owned by Debtor, 10290 SW 58th
Street Miami, Florida 33173 (the “Subject Property”).
       3.      On June 7, 2018, Debtor filed the Sanction Motion and in such Motion, the Debtor
alleges that HSBC Bank USA, N.A. and the Dade County Sheriff Department violated the
bankruptcy stay by trying to evict the Debtor. Upon review of the docket, the Debtor’s primary
address is 14100 NW 14th Ave., Miami, FL 33167 – not the Subject Property.
       4.      The instant petition should be deemed void. On April 30, 2018; the Debtor
(Maurice Symonette), Kurt Marin, and Clide Ward T (collectively) filed for relief under Chapter
7 of the United States Bankruptcy Code, [Bk Case No. 18-15121-EPK]. On May 14, 2018, the
Court entered an Order Dismissing Case for Failure to File Information with 180 days prejudice.
A true and correct copy of the “Dismissal Order” is attached hereto as Creditor’s Exhibit “A.” The
Court never entered an order shortening the prejudice period; and as such, the instant filing (filed
just 2 days later) should not have been accepted by the Clerk. Consequently; the Debtor,
technically does not have the standing to make stay violation accusations and the instant petition
should be deemed void in violation of the Dismissal Order.
       5.      The Debtor has no interest in Subject Property. On February 8, 2008 (over 10
years ago), a Final Judgment of Foreclosure was entered in connection to the Subject Property. A
true and correct copy of the Foreclosure Judgment is attached hereto as Creditor’s Exhibit “B.”
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        6.      On February 18, 2015; the Subject Property was sold at auction (Creditor as the
successful bidder); and the Certificate of Sale (“COS”) was issued on February 23, 2015 – over
three years ago. Furthermore, the Certificate of Title (“COT”) was entered on October 27, 2015.
True and correct copies of the Certificate of Sale, Certificate of Title, and Writ of Possession are
attached hereto as Creditor’s Exhibit “C,”“D,” and “E” respectively.
        7.      Pursuant to Section 45.0315 of the Florida Statutes; the right of redemption passed
when the COS was issued; and as a result, neither this Debtor (Maurice Symonette) nor the past
debtors (Clide Ward/Kurt Marin) have a legal interest in the Subject Property, and the collateral is
not part of the Debtor’s bankruptcy estate.
        8.      The Eviction Proceedings. As stated, the COT was issued on October 27, 2015.
The Debtor, Clide Ward, and Kurt Marin have vigorously contested the Creditor’s eviction
proceedings since COT was issued, and each attempt has been defeated in the state court.
        9.      Additionally, the Debtors have (cumulatively) filed nine (9) separate bankruptcies1
since the Foreclosure Judgment was entered. Most recently, the Debtors filed BK Case No. 18-
15121-EPK under an EIN # - presumably with the intention to make it more difficult for the
Creditor to identify the filing through a standard PACER search for social security numbers.
        10.     The Debtor’s Sanction Allegation. On May 16, 2018; the Debtor filed the instant
case, ostensibly with intentions to again delay the eviction. Pursuant to Section 83.62 (2) of Florida
Statutes, “at the time the sheriff executes the writ of possession or at any time thereafter, the
landlord or the landlord or the landlord’s agent may remove personal property found on the
premises to or near the property line” and “neither the sheriff nor the landlord’s agent shall be
liable to the tenant or any other party for the loss, destruction, or damage to the property after it
has been removed.” The Debtor is in violation of the Dismissal Order filed in the previous case,
barring the Debtor from filing Bankruptcy within 180 days. Furthermore, the Debtor has no
interest in the Subject Property, and has been abusing the bankruptcy system for ten (10) years to
hinder, delay and defraud the Creditor.
        11.     Creditor reserves the right to supplement and/or amend this Response in the future.



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 10-12697-RAM filed 02/10/2010; dismissed 05/05/2010 (Kurt Marin)
10-45600-LMI filed 11/19/2010: dismissed 07/14/2011 (Kurt Marin);
12-10066-LMI filed 01/03/2012; dismissed 01/31/2013 (Kurt Marin);
12-23756-LMI filed 06/04/2012; dismissed 01/11/2013 (Maurice Symonette);
15-28143-JKO filed 10/13/2015; dismissed 02/05/2016 (Maurice Symontte);
16-13958-AJC filed 03/21/2016; dismissed 05/06/2016 (Kurt Marin) ;
16-20959-EPK filed 08/08/2016; dismissed 07/11/2017 (Maurice Symonette);
18-15121-EPK filed 04/30/2018; dismissed 05/14/2018 (Maurice Symonette, Kurt Marin, and Clide Ward)
18-15891-LMI filed 05-16/2018 (the instant case)
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       WHEREFORE, , HSBC Bank USA, National Association as Trustee for Nomura
Home Equity Loan, Inc., AssetBacked Certificates, Series 2007-1, respectfully requests that
this Court enter an Order denying Debtors’ Sanction Motion with language indicating that the
Debtor has no interest in the Subject Property; and awarding any and all other relief that this Court
deems just and appropriate (including Creditor’s attorney fees).




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                                      CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a true and correct copy of the foregoing was provided via
electronic and/or regular U.S. Mail to the parties on the attached service list, this 20th day of June
2018, I served a copy of the foregoing upon:

SERVICE LIST
Maurice Symonette
14100 NW 14 AVE
Miami, FL 33167

Joel L. Tabas
25 SE 2nd Avenue
Suite 248
Miami, FL 33131

Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130




                                                      Jeffrey S. Fraser, Esq.
                                                      Albertelli Law
                                                      Attorney for Secured Creditor
                                                      PO Box 23028
                                                      Tampa, FL 33623
                                                      Telephone: (813) 221-4743
                                                      Facsimile: (813) 221-9171

                                                      By: /s/ Jeffrey Fraser, Esq.
                                                      Jeffrey Fraser
                                                      Florida Bar No: 0085894




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       EXHIBIT A
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CGFD15 (10/1/16)




ORDERED in the Southern District of Florida on May 14, 2018




                                                                                                  Erik P. Kimball
                                                                                                  United States Bankruptcy Judge



                                               United States Bankruptcy Court
                                                  Southern District of Florida
                                                    www.flsb.uscourts.gov
                                                                                                               Case Number: 18−15121−EPK
                                                                                                               Chapter: 7

In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Maurice Symonette, Kurt Marin, and Clide Ward T
2033 Linton Lake Dr #B
Delray Beach, FL 33445

EIN: 82−7101308


                                                    ORDER DISMISSING CASE
     At the time of filing of the above referenced case on April 30, 2018, the debtor was provided notice
by the court of filing requirements and the deadline(s) to correct deficiencies.

1) As of the date of this order, the debtor has failed to correct the following deficiency(ies) by the required
05/08/2018 deadline:

                     A corporation, partnership, trust or other business entity cannot file a petition on its own
                     behalf without counsel (Local Rule 9010−1(B)(1)).

                     The petition was not accompanied by a corporate ownership statement as required by
                     Bankruptcy Rule 1007(a)(1).

2) The following additional requirements remain outstanding:
                       Official Bankruptcy Form 206Sum, A Summary of Your Assets and Liabilities
                       Official Bankruptcy Form 206A/B, Schedule A/B: Property
                       Official Bankruptcy Form 206D, Schedule D: Creditors Who Hold Claims Secured by
                       Property
                       Official Bankruptcy Form 206E/F, Schedule E/F: Creditors Who Have Unsecured Claims
                       Official Bankruptcy Form 206G, Schedule G: Executory Contracts and Unexpired Leases
                       Official Bankruptcy Form 206H, Schedule H: Your Codebtors
                       Official Bankruptcy Form 106Dec, Declaration About an Individual Debtor's Schedules
                       Official Bankruptcy Form 207, Statement of Financial Affairs for Individuals Filing for
                       Bankruptcy
                          Case18-15891-LMI
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     Because the debtor has failed to meet the deadline(s) in paragraph (1) above for the listed deficient
items, it is

ORDERED that:

 1. In accordance with 11 U.S.C. § 105(a), this case is dismissed with prejudice as to the filing of any
    bankruptcy case in any federal bankruptcy court in the United States of America by the
    above−named debtor for 180 days from entry of this order, or the expiration of any prejudice period
    set in any previous order, whichever is later.

 2. All pending motions are denied as moot.

 3. (If applicable) the trustee shall file a final report within 14 days of entry of this order.

 4. (If applicable) the debtor shall immediately pay to the Clerk, U.S. Court, Flagler Waterview Building,
    1515 N Flagler Dr, Room 801, West Palm Beach FL 33401, $0.00 for the balance of the filing fee as
    required by Local Rule 1017−2(E). Payment must be made in cash, money order or cashier's or
    "official" check. Any funds remaining with the trustee shall be applied to this balance in accordance
    with the Bankruptcy Code and Local Rule 1017−2(F), unless otherwise ordered by the court. The
    court will not entertain a motion for reconsideration of this order unless all unpaid fees are paid at the
    time the motion is filed.

 5. In accordance with Local Rule 1002−1(B), the clerk of court is directed to refuse to accept for filing
    any future voluntary petitions submitted by this debtor if the refiling violates a prior order of the court
    or if the petition is accompanied by an Application to Pay Filing Fee in Installments and filing fees
    remain due from any previous case filed by the debtor.
                                                                ###
The clerk shall serve a copy of this order on all parties of record.
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        EXHIBIT E
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